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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

UNITED STATES OF AMERICA,
Plaintiff-Appellee,
Case No. CR117-034

VS.

REALITY LEIGH WINNER,

vvvvvvvvv

Defendant-Appellant.

O R D E R
The judgment (doc. 163) on the Magistrate Judge’S order of
detention (doc. 27) in the above-styled action having been
affirmed by the United States Court of Appeals for the Eleventh
Circuit,
IT IS HEREBY ORDERED that the mandate of the United States
Court of Appeals for the Eleventh Circuit is made the judgment of

this Court.

SO ORDERED, this ZJV` day of February, 2018.

 

 

SOUTHERN DISTRICT OF GEORGIA

